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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                           Case No. 22-mj-576 (TNL)

DISTRICT OF MINNESOTA            )
                                 )      ss.        FILED UNDER SEAL
COUNTY OF HENNEPIN               )


      I, Sara Thomas, being first duly sworn, hereby depose and state as follows:

                            INTRODUCTION

      1.     I am an investigative law enforcement officer of the United States within

the meaning of section 3051 (a) of Title 18, United States Code, as a Special Agent

with the Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF), and have been

so employed since December of 2016. Prior to being employed by ATF, I was a Special

Agent with the Georgia Bureau of Investigation, was so employed from 2007 to 2016.

While with the GBI, I served as a Federal Task Force Agent with Homeland Security

Investigation’s Atlanta Office where I investigated federal juvenile sex trafficking,

child exploitation and computer crime cases. During my work with the ATF, GBI, and

HSI, I have participated in many investigations and the execution of many search

warrants and arrest warrants that led to the seizure of illegally purchased or

trafficked firearms, narcotics, books/ledgers indicating sales, computers, cell phones,

and other items used to facilitate firearms and narcotics trafficking. I am currently

assigned to ATF St. Paul Group IV Field Group in St. Paul, Minnesota. Prior to being

assigned to the St. Paul Field Division, I was assigned to the Atlanta Field Division’s

Firearms Trafficking Group. I am charged with the investigation and enforcement of

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violations of firearms laws and related violations that often go hand in hand with

firearms offenses (such as drug-related offenses and firearms trafficking), and any

other violations encountered in the course of my duties. I have experience in working

investigations of federal firearms violations and have perfected federal firearms cases

against a variety of defendants. I am a graduate of the Federal Law Enforcement

Training Center’s Criminal Investigation Training Program, the GBI Special Agent

Academy, and the ATF Special Agent Basic Training Program.

      2.     This affidavit is submitted for the limited purpose of establishing

probable cause in support of issuing a complaint and arrest warrant for Daniel James

HART, Jr., for possession of ammunition by a felon in violation of 18 U.S.C. §

922(g)(1).

                                PROBABLE CAUSE

a.    The Shooting of June 21, 2022.

        3.   On Tuesday, June 21, 2022, I was contacted by the police department of

Plymouth, Minnesota, to assist with a homicide investigation.             During the

investigation, I learned that Plymouth police officers responded to a shooting at

Sami’s Stop Gas Station, located at 9605 36th Avenue North, Plymouth, Minnesota,

on Thursday, June 9, 2022, at approximately 8:25 p.m. A male, later identified as

Marlon Lindley Pompey, had been fatally shot.

      4.     Plymouth officers obtained a state warrant for Sami’s Stop surveillance

video that captured the shooting. Exterior video showed a 2017 black BMW pull into


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the gas station and park next to Pump 4. The driver, later identified as HART, exited

the BMW and went into the gas station. HART was wearing light colored jeans, a

white long sleeve shirt with a unique design on the right arm and back, a tan colored

belt, a white and dark colored hat, light colored shoes, and blue surgical mask. He

had long dreadlocks pulled into a low ponytail.




Fig. 1: A still shot from surveillance video, showing HART walking into the gas station.



       5.      Interior video surveillance showed HART approach the counter and pay

for tobacco and gasoline using a credit card.




Fig. 2: A still shot from surveillance video, showing HART facing the counter.


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Fig. 3: A still shot from surveillance video, showing HART at the counter with his back to the camera.


        6.     A Sami’s Stop gas station employee provided Plymouth officers with a

receipt for the purchase HART made. The receipt indicated that HART paid for

tobacco and $40.00 in prepaid gas. HART used a VISA credit card for the purchase.

Officers obtained the credit card number and determined that it was issued by

Comenity Capital Bank in Columbus, Ohio.

        7.     Exterior gas station surveillance video showed HART exit the gas

station store after paying and return to Pump 4. On the way to the pump, a 2011

gray Chevrolet Suburban pulled into the gas station at a neighboring gas pump.

Pompey was the driver of this vehicle. HART walked directly in front of Pompey’s

vehicle and looked into the Suburban, while walking to Pump 4. HART then pumped

gas into his BMW, and leaned against the car.

        8.     Pompey exited the Suburban.              Plymouth officers later interviewed

Pompey’s girlfriend, who was inside the vehicle with Pompey during the shooting.

She stated that Pompey told her that HART was “looking at [Pompey] funny.” She

also told Officers that Pompey was acting paranoid.

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       9.      Exterior gas station surveillance video showed HART and Pompey

exchange looks. Pompey went into the gas station, then quickly returned to his

vehicle. Pompey accessed the driver’s side of the Suburban and appeared to be

looking for something in the vehicle. Pompey’s girlfriend later told Plymouth officers

that Pompey was looking for a gun that he previously hidden in the vehicle.

       10.     At 8:24:08 p.m., exterior video footage showed HART raise a handgun in

his right hand and shoot Pompey. HART then got into the BMW and drove off at a

high rate of speed. The hose of the gas pump was still attached to the BMW when it

sped off.




Fig. 4: A still shot from surveillance video, showing HART (near the dark-colored sedan) shoot Pompey
(in the gray SUV).

       11.     Pompey was transferred to North Memorial Hospital and died from the

gunshot wounds.

       12.     Plymouth police officers informed me that immediately prior to the

shooting, HART was observed by Plymouth officers working at a nearby high school

graduation of Armstrong High School. Armstrong High School is located at 10635

36th Avenue North, Plymouth, Minnesota, approximately 0.5 miles away from Sami’s

Stop gas station.


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      13.   Plymouth officers obtained video surveillance from Armstrong High

School and found a vehicle and driver that were visually consistent to the suspect

involved in the shooting. Surveillance video showed a 2017 black BMW, model 740,

bearing the Minnesota license plate 5BD597, pull into the high school parking lot at

approximately 7:48 p.m. HART, wearing visually identical clothing as the homicide

suspect, exited the BMW and walked toward the graduation.




              Fig. 5: A still shot from Armstrong High Scholl surveillance video,
              showing HART and the BMW.




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Fig. 6: Still shots from Armstrong High Scholl surveillance video, showing HART and a graduate
(redacted).

       14.    Video surveillance showed HART return to the BMW at approximately

7:59 p.m. A second male, known to law enforcement, wearing a black long sleeve

shirt, pink vest, black pants and pink shoes, got into the BWM with HART. Video

surveillance showed the man exit the BMW before HART left the parking lot.

       15.    Armstrong High School surveillance video showed Pompey’s silver

Suburban leave the school parking lot at approximately 8:15 p.m.

b.     Prior Incidents Involving the Suspect Vehicle.

       16.    Plymouth officers queried Minnesota plate 5BD597 through law

enforcement and public databases. Minnesota Department of Vehicle Services (DVS)

records revealed that the vehicle was registered to a woman with the initials S.N.C.

Plymouth officers determined that social media and prior contacts with law

enforcement agencies indicated that S.N.C. was HART’s girlfriend.

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      17.      Plymouth officers determined that the BMW had been involved in

several incidents since February of 2022. On each occasion, HART was the driver.

            a. On February 17, 2022, officers of the Shakopee Police Department
               conducted a traffic stop on the vehicle for excess speed and expired
               registration. HART was driving the vehicle.

            b. On February 23, 2022, S.N.C. reported to the Prior Lake Police
               Department that HART took the vehicle and would not return it.

            c. On May 19, 2022, officers of the Prior Lake Police Department conducted
               a traffic stop on the vehicle for not stopping at a stop sign. HART was
               driving the vehicle.

c.    Social Media Accounts Associated with HART.

      18.      A Plymouth Police Department crime analyst determined that HART’s

alias was “Dula” by examining other law enforcement agency reports. The analyst

located an Instagram account (https://www.instagram.com/dulamonsta_2309) and

YouTube account (“Dula Monsta” https://www.youtube.com/channel/UCD_1BO8tD-

qZmHvBP9XYR4g) associated with HART.

      19.      The analyst located a “story” posted on the Instagram account on June

19, 2022. The story featured a picture of HART and the man in the pink vest and pink

shoes who got into his car at the Armstrong High School graduation. The picture had

the attached text “SHOT A VIDEO AND HAD A SHOOTOUT IN THE SAME

SHIRT.”




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                  Fig. 6: A photograph posted on HART’s Instagram
                  account (redacted).


      20.   I located a video called “Smg Reeko ft Dula Monsta & Savo32k Worst

Days Shot by @j.smithposted” uploaded to the YouTube “Dula Monsta” channel. The

video was posted June 21, 2022, and showed HART singing/raping. HART was




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wearing a visually identical shirt, hat, pants, belt and shoes as the date of the

shooting.




Fig. 7: A still shot from HART’s YouTube channel.


d.      NCIC and MNCIS Queries.

        21.      On July 12, 2022, I completed a review of HART’s criminal history

provided by the National Criminal Information Center (NCIC) and Minnesota Court

Information System (MNCIS). I confirmed that HART had been convicted of a crime

punishable in excess of one year. Conviction documents indicated that HART had

been convicted of the following felony charges on June 9, 2022:

              a. First-Degree aggravated robbery and Second-Degree Assault with a
                 Dangerous Weapon (Court Case 27-CR-15-24661); and

              b. Aiding an Offender / Accomplice after the Fact (Court case 27-CR-16-
                 14712).

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      22.      I note that in those prior convictions, HART received sentence of 48

months, and so would have known he had been convicted of a least one offense

punishable by imprisonment for a term exceeding one year.

e.    Ammunition Interstate Nexus.

      23.      Plymouth officers located three 9mm caliber shell casings on the ground

in the proximity of Pump 4. The shell casings indicate that the ammunition consisted

of one round of Companhia Brasileira de Cartuchos (CBC) S.A. 9mm ammunition,

one round of Remington – Peters (R – P) 9mm ammunition, and one round of Sig

Sauer 9mm ammunition.

      24.      The ammunition has been reviewed by an ATF interstate nexus expert,

who determined that the ammunition was not manufactured in the State of

Minnesota, and therefore necessarily traveled in interstate commerce to have been in

Minnesota on June 9, 2022.

      25.      At my request, Plymouth officers queried Plymouth Police Department

databases and confirmed that no other shootings had taken place at Sami’s Stop, and

no reports of shots being fired in that area had been made in 2022.

                                   CONCLUSION

      26.      Based on the foregoing, there is probable cause to believe HART

committed the offense of possession of ammunition as a felon, in violation of 18 U.S.C.

§ 922(g)(1).



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